                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  SOUTHERN DIVISION


ESTELE RAY NEELY, Individually
and on behalf of himself and others
similarly situated,

Plaintiff,

                    v.                                 No. ________________

U.S. XPRESS ENTERPRISES, INC.,                         FLSA Opt-in Collective Action
a Nevada Corporation,                                  Rule 23 Class Action
U.S. XPRESS, INC.,
a Nevada Corporation, and                              JURY DEMANDED
U.S. XPRESS LEASING, INC.,
a Tennessee Corporation,

Defendants.


                ORIGINAL COLLECTIVE AND CLASS ACTION COMPLAINT


             Named Plaintiff Estele Ray Neely (“Named Plaintiff”), individually and on behalf of

     himself and those similarly situated, hereby complains as follows against Defendants U.S.

     Xpress Enterprises, Inc., U.S. Xpress, Inc., and U.S. Xpress Leasing, Inc. (“Defendants”).

                                         INTRODUCTION

1.        Named Plaintiff initiated the instant action to redress Defendants’ violations of the Fair

     Labor Standards Act (“FLSA”). Named Plaintiff asserts that Defendants erroneously

     designated Named Plaintiff and those similarly situated as independent contractors and

     unlawfully deducted from and withheld portions of the wages owed to them. Specifically,

     Defendants required Named Plaintiff and those similarly situated to cover the costs of the

     truck, insurance, and fuel by intentionally reducing the wages of Named Plaintiff and those



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     similarly situated below the federal minimum wage.

2.         Named Plaintiff initiated this action to redress Defendants’ violations of the common

     law of Tennessee for unjust enrichment and breach of contract, on behalf of himself and all

     those similarly situated.

                                 JURISDICTION AND VENUE

3.         The foregoing paragraphs are incorporated herein as if set forth in their entirety.

4.         This Court has original subject matter jurisdiction over this action pursuant to 28 U.S.C.

     § 1331 because the claims herein arise under laws of the United States, the FLSA, 29 U.S.C. §

     201 et seq. This Court has supplemental jurisdiction over Named Plaintiff’s state law claims

     pursuant to 28 U.S.C. § 1367 because the claims are so related to claims in this action within

     this Court’s original jurisdiction that they form part of the same case or controversy under

     Article III of the United States Constitution.

5.         This Court also has jurisdiction over Named Plaintiff’s state law claims pursuant to the

     Class Action Fairness Act, 28 U.S.C. § 1332(d) because the amount in controversy exceeds

     $5 million and at least one member of the putative class is domiciled in a state different from

     the domicile of any Defendant.

6.         This Court may properly maintain personal jurisdiction over Defendants because

     Defendants’ contacts with this state and this jurisdictional district are sufficient for the exercise

     of jurisdiction over Defendants to comply with traditional notions of fair play and substantial

     justice.

7.         Venue is proper in this judicial district pursuant to 29 U.S.C. § § 1391(b)(1) and (b)(2),

     because Defendants reside in and/or conduct business in this judicial district and because a

     substantial part of the acts and/or omissions giving rise to the claims set forth herein occurred



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     in this judicial district.

                                            PARTIES

8.         The foregoing paragraphs are incorporated herein as if set forth in their entirety.

9.         Named Plaintiff Estele Ray Neely was employed by Defendants as an hourly-paid over

     the road truck driver within this district at all times material to this collective action. Mr.

     Neely’s Consent to Join form is attached as Exhibit A.

10.        Defendant U.S. Xpress Enterprises, Inc. is a Nevada Corporation authorized to do

     business, and is currently doing business, in the State of Tennessee with its principal place of

     business being located at 4080 Jenkins Road; Chattanooga, Tennessee 37421-1174. According

     to the Tennessee Secretary of State, it may be served via its registered agent: Corporation

     Service Company, 2908 Poston Ave.; Nashville, Tennessee 37203-1312.

11.        Defendant U.S. Xpress, Inc. is a Nevada Corporation authorized to do business, and is

     currently doing business, in the State of Tennessee with its principal place of business being

     located at 4080 Jenkins Road; Chattanooga, Tennessee 37421-1174. According to the

     Tennessee Secretary of State, it may be served via its registered agent: Corporation Service

     Company, 2908 Poston Ave.; Nashville, Tennessee 37203-1312.

12.        Defendant U.S. Xpress Leasing, Inc. is a Tennessee Corporation authorized to do

     business, and is currently doing business, in the State of Tennessee with its principal place of

     business being located at 4080 Jenkins Road; Chattanooga, Tennessee 37421-1174. According

     to the Tennessee Secretary of State, it may be served via its registered agent: Corporation

     Service Company, 2908 Poston Ave.; Nashville, Tennessee 37203-1312.

13.        Defendants all share the principal place of business at 4080 Jenkins Road; Chattanooga,

     TN 37421-1174.



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                                       CLASS DESCRIPTIONS

14.       Plaintiff brings this Fed. R. Civ. P. 23(b)(3) class action on behalf of the following similarly

     situated individuals:

                  All current and former “over the road” truck drivers, classified as independent
                  contractors, employed by Defendants in the State of Tennessee at any time during
                  the applicable limitations period covered by this Class Action Complaint up to and
                  including the date of final judgment in this matter. 1

15.       Plaintiff brings this FLSA collective action on behalf of the following similarly situated

     persons:

                  All current and former “over the road” truck drivers, classified as
                  independent contractors, employed by Defendants in the United
                  States at any time during the applicable limitations period covered
                  by this Collective Action Complaint (i.e. two years for FLSA
                  violations and, three years for willful FLSA violations) up to and
                  including the date of final judgment in this matter, and who is a
                  Named Plaintiff or elect to opt-in to this action pursuant to the
                  FLSA, 29 U.S.C. § 216(b). (Collectively “the class”). 2

                             FLSA COLLECTIVE ACTION ALLEGATIONS

16.       Defendants own and operate a fleet of “over the road” long haul trucks, and provide

     trucking/distribution services to business entities throughout the United States.

17.       Defendants employ truck drivers, such as Plaintiff and members of the putative class, and

     erroneously classify them as independent contractors.

18.       Defendants have been the “employer” of Plaintiff and those similarly situated within the

     meaning of 29 U.S.C. § 203(d), during all times material to this Collective and Class Action

     Complaint.




1
 Plaintiff reserves the right to modify or amend the Class Description upon newly discovered
information gathered through the discovery process.
2
    Id.

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19.       Defendants employed Plaintiff and those similarly situated and were responsible for setting

  and administering wage and compensation policies related to them during the relevant period of

  time.

20.       The decisions regarding the compensation of Plaintiff and other members of the class, and

  other terms of employment, were made through a centralized management of Defendants’

  Headquarters located in Chattanooga, Tennessee, under the direction and control of their

  executives, officers and human resources personnel.

21.       Defendants have had a centralized plan, policy and practice (scheme) of requiring Plaintiff

  and other similarly situated “over the road” truck driver employees to perform truck

  driving/distribution job duties without compensating them the applicable FLSA minimum wage.

22.       Specifically, Defendants have suffered and permitted Plaintiff and members of the putative

  class to perform their truck driving job duties for Defendants within certain pay periods and then

  at times refuse to compensate them all together. In fact, Defendants issue pay stubs to Plaintiff

  and members of the putative class that charge them for “expenses” for the truck, insurance, and

  fuel. Defendants issue Plaintiff and other drivers pay stubs with a negative balance or with

  drastically reduced balances for pay periods.

23.       At all times material to this action, Plaintiff and those similarly situated are, or have been,

  “employees” of Defendants as defined by Section 203(e)(1) of the FLSA, and worked for

  Defendants within the territory of the United States within three (3) years preceding the filing of

  this lawsuit.

24.       At all times material to this action, Defendants have been an enterprise engaged in

  commerce or in the production of goods for commerce as defined by Section 203(s)(1) of the

  FLSA, with annual revenue in excess of $500,000.00.



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25.    At all times material to this action, Defendants have been subject to the pay requirements

  of the FLSA because they are an enterprise in interstate commerce and its employees are engaged

  in interstate commerce.

26.    The net effect of Defendants’ aforementioned plan, policy and practice of requiring

  Plaintiff and those similarly situated to perform truck driving duties without compensating them

  the applicable FLSA minimum wage is that Defendants willfully failed to pay Plaintiff and other

  class members at least the FLSA minimum wage rates of pay, in order to save payroll costs and

  payroll taxes. As a consequence, Defendants have violated the FLSA and, thereby have enjoyed

  ill-gained profits at the expense of Plaintiff and others similarly situated.

27.    Therefore, Plaintiff and others similarly situated are entitled and hereby seek to a recover

  back pay, liquidated damages, attorneys’ fees, interest, and other costs, fees and expenses from

  Defendants for all such aforementioned time that is available under the FLSA as it relates to

  minimum wage.

28.    Although at this stage Plaintiff is unable to state the exact amount owed to him and other

  members of the class, he believes sufficient information will become available to him through

  discovery. However, when an employer fails to keep complete and accurate time records,

  employees may establish the hours worked solely by their testimony and the burden of proof of

  overcoming such testimony shifts to the employer.

                                 CLASS ACTION ALLEGATIONS

29.    The foregoing paragraphs are incorporated herein as if set forth in their entirety.

30.    Defendants own and operate a fleet of “over the road” long haul trucks, and provide

  trucking/distribution services to business entities throughout the United States.




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31.    Defendants employ truck drivers, such as Plaintiff and members of the putative class, and

  erroneously classify them as independent contractors.

32.    Defendants promised Plaintiff and other putative class members that they would be

  compensated based on the miles they drove of the value of each truckload they delivered.

33.    As explained above, Defendants failed to fully compensate Plaintiff and putative class

  members this mileage pay.

34.    The precise number of collective class members can be easily ascertained by examining

  Defendants’ payroll, scheduling, timekeeping, personnel, and other work-related records and

  documents.

35.    Common questions law or fact common to the Rule 23 Class predominate over questions

  affecting only individual class members. These common questions of law or fact are:

       (a)     Whether an employment contract existed between Defendants and Plaintiff and the

               putative class;

       (b)     Whether the members of the Class are entitled to wages from Defendants under

               Tennessee’s law of contracts;

       (c)     Whether Defendants paid members of the class the wages they were contractually

               promised;

       (d)     Whether the Defendants unlawfully breached their agreements with Plaintiff and

               members of the putative class;

       (e)     Whether Defendants failed to keep true and accurate records for all truck loads

               delivered/routes driven by Plaintiff and the Class;

       (f)     What were the policies, practices, programs, procedures, protocols, and plans of

               Defendants regarding payment on contractually agreed wages;



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       (g)     The nature and extent of the Rule 23 Class-wide injury and the appropriate measure

               of damages for the Class;

36.    As demonstrated by the allegations above, Plaintiff’s claims are typical of the Class’

  claims. These claims arose from the same employer at the same locations pursuant to the same

  practices and policies, and the claims are based on the same legal theories.

37.    The persons in the Class identified above are so numerous that joinder of all members is

  impracticable.

38.    The Class Members are readily ascertainable. For purposes of notice and other purposes

  related to this action, their names and addresses are readily available from Defendants.

39.    Defendants have acted or have refused to act on grounds generally applicable to the Class,

  thereby making appropriate final injunctive relief or corresponding declaratory relief with

  respect to the Class as a whole.

40.    Plaintiff is an adequate class representative. Plaintiff was an “over the road” truck driver

  employee of Defendants who, like the Class, was not the paid the contractually agreed upon

  wages. Therefore, Plaintiff has an interest in seeking recovery for the same types of damages

  that members of the Class would seek.

41.    Plaintiff’s claims are typical of those claims which could be alleged by any member of the

  Class, and the relief sought is typical of the relief which would be sought by each member of

  the Class in separate actions. All the Class members were subject to the same corporate practices

  of Defendants, as alleged herein, of failing to pay all contractually agreed upon wages.

42.    A class action is superior to other available methods for the fair and efficient adjudication

  of this litigation, particularly in the context of a breach of wage contract litigation like the

  present action, where an individual Plaintiff may lack the financial resources to vigorously



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  prosecute a lawsuit in federal court against corporate Defendants. Class action treatment will

  permit a large number of similarly situated persons to prosecute their common claims in a single

  forum simultaneously, efficiently, and without the unnecessary duplication of efforts and

  expense that numerous individual actions produce. The adjudication of individual litigation

  claims would result in a great expenditure of Court and public resources; however, treating the

  claims as a class action would result in a significant savings of these costs. The members of the

  Class have been damaged and are entitled to recovery as a result of Defendants’ common and

  uniform policies, practices, and procedures. Although the relative damages suffered by

  individuals in the Class are not de minimis, such damages are small compared to the expense

  and burden of individual prosecution of this litigation. Additionally, proceeding as a class action

  will obviate the need for unduly duplicative litigation that might result in inconsistent judgments

  about Defendants’ practices. As a result, class treatment is a superior mechanism for resolving

  this dispute compared to the adjudication of individual litigation claims.

43.    Plaintiff knows of no conflict of interest with the class of “over the road” truck driver

  employees who worked for Defendants.

44.    Current employees are often afraid to assert their rights out of fear of direct or indirect

  retaliation. Former employees are fearful of bringing claims because doing so can harm their

  employment, future employment, and future efforts to secure employment. Class actions

  provide class members who are not named in the complaint a degree of anonymity which allows

  for the vindication of their rights while eliminating or reducing those risks.

45.    Plaintiff has hired the law firm of Jackson, Shields, Yeiser, Holt, Owen & Bryant to pursue

  his claims for unpaid wages. Jackson, Shields, Yeiser, Holt, Owen & Bryant focuses its practice

  on wage and hour claims under the FLSA and applicable state laws. It has represented other



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   employees asserting unpaid wage claims, and other compensable time, in numerous other cases.

   It has also represented numerous other employees and employers all over the United States in

   wage and hour claims in numerous other types of wage cases.

 46.    The class action mechanism is superior to the other available methods for a fair and

   efficient adjudication of the controversy. The expenses, costs, and burden of litigation suffered

   by individual other members of the class in a class action are relatively small in comparison to

   the expenses, costs, and burden of litigation of individual actions, making it virtually impossible

   for other members of the class to individually seek address for the wrongs done to them.

 47.    Plaintiff and other members of the class have suffered and will continue to suffer

   irreparable damage from the unlawful policies, practices, and procedures implemented by

   Defendants.

                                   FACTUAL BACKGROUND

 48.    The foregoing paragraphs are incorporated herein as if set forth in their entirety.

 49.    Upon information and belief, Defendants are companies engaged in the business of

   hauling and delivery of freight by truck.

 50.    Named Plaintiff worked for Defendants as a commercial truck driver during the last three

   (3) years.

 51.    At all times relevant, Defendants erroneously designated Named Plaintiff, Collective

   Plaintiffs, and Class Members as independent contractors.

 52.    At all times relevant, Named Plaintiff, Collective Plaintiffs, and Class Members

   (hereinafter collectively “Lease to Own Drivers”) leased trucks from U.S. Xpress Leasing, Inc.

   for the purpose of driving freight for Defendants.

 53.    Named Plaintiff is informed and believes, and thereon alleges, that U.S. Xpress, Inc. and



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   U.S. Xpress Leasing Inc. are subsidiary corporations of U.S. Xpress Enterprises, Inc. Plaintiff

   is further informed and believes, and thereon alleges, that because of the interrelation of

   operations, common management, centralized control of labor relations, common ownership,

   common financial controls, and other factors, Defendants are sufficiently interrelated

   and integrated in their activities, labor relations, ownership, and management that they may be

   treated as a single employer for purposes of this legal action and that each has liability for the

   act of the other as herein alleged.

 54.    Named Plaintiff is informed and believes, and thereon alleges, that Defendant U.S.

   Xpress Enterprises, Inc. is responsible for creating and promulgating the pay policies and other

   practices at issue in this action. Defendant U.S. Xpress Enterprises, Inc. controls such policies

   and practices by supervising and directing staff at Defendants U.S. Xpress, Inc. and U.S.

   Xpress, Leasing, Inc.

 55.    As a condition of their employment for Defendants, Defendants required Named Plaintiff

   and those similarly situated to enter into Equipment Lease Agreements (“Lease Agreements”)

   with U.S. Xpress Leasing, Inc., whereby Named Plaintiff and those similarly situated were

   required to lease a vehicle from U.S. Xpress Leasing, Inc.

 56.    As a condition of entering into the Lease Agreements with U.S. Xpress Leasing Inc.,

   U.S. Xpress Leasing Inc. required Plaintiffs to enter into Independent Contractor Agreements

   (“Contractor Agreements”) with U.S. Xpress, Inc., whereby Named Plaintiff and those

   similarly situated subleased the tractors and their driving services to U.S. Xpress, Inc. via the

   Contractor Agreements.

 57.    The Lease Agreements between Named Plaintiff and those similarly situated and

   Defendant U.S. Xpress Leasing, Inc. require Named Plaintiff and those similarly situated to



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   drive only for Defendant U.S. Xpress, Inc., or default on their Lease Agreements, subjecting

   Plaintiffs to significant financial penalties.

 58.    At all times relevant herein, Defendants acted by and through their agents, servants, and

   employees, each of whom acted at all times relevant herein in the course and scope of their

   employment with and for Defendants.

                       Named Plaintiff and Other “Lease to Own Drivers”
                        Were Misclassified as Independent Contractors

 59.    The foregoing paragraphs are incorporated herein as if set forth in their entirety.

 60.    Defendant U.S. Xpress, Inc. is a motor carrier as defined by the Motor Carrier Act.

 61.    Defendant U.S. Xpress, Inc’s primary business is to provide transportation of cargo for hire.

 62.    Defendant U.S. Xpress, Inc. provided to Lease to Own Drivers Contractor Agreements,

   which purport to classify Lease to Own Drivers as independent contractors.

 63.    Defendant U.S. Xpress, Inc. provided said agreements to Lease to Own Drivers under the

   guise that Lease to Own Drivers would be participating in Defendants’ Lease-Purchase Program.

 64.    In order to participate in the Lease-Purchase program, Defendant U.S. Xpress, Inc. required

   Lease to Own Drivers to execute a Lease Agreement with U.S. Xpress, Leasing, Inc.

 65.    As a condition of entering into the Lease Agreement, Lease to Own Drivers were required

   to maintain Contractor Agreements with and work for Defendant U.S. Xpress, Inc. to avoid

   defaulting on the Lease Agreement.

 66.    The Contractor Agreement and the Lease Agreement were presented as a single agreement

   requiring Lease to Own Drivers to execute both agreements at the same time.

 67.    For example, Named Plaintiff’s Lease Agreement and Contractor Agreement are provided

   in the same “DocuSign Envelope ID.” The documents were sent via a single link and presented

   as a single agreement.


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 68.    Pursuant to the Lease Agreement, Lease to Own Drivers may only operate the leased

   vehicle “pursuant to the Contractor Agreement entered into with [U.S. Xpress, Inc.].”

 69.    Pursuant to the Lease Agreement, Lease to Own Drivers are in default of the Lease

   Agreement if “the Contractor Agreement between [the Lease Purchase Driver] and [U.S. Xpress,

   Inc.] is terminated by either party for any reason or otherwise expires, and [the Lease Purchase

   Driver] fails within two (2) days thereafter to enter into a new Contractor Agreement with

   [U.S. Xpress, Inc.] acceptable to [U.S. Xpress Leasing, Inc.] in the exercise of [U.S. Xpress

   Leasing, Inc.’s] sole discretion.”

 70.    Pursuant to the Lease Agreement, U.S. Xpress, Leasing, Inc. “maintain[ed] all right[s],

   title, and interest in and to the Equipment for the entire term… [The Lease Purchase Driver]

   shall not assign, mortgage, encumber, or transfer this Agreement in whole or in part, or sublet

   the Equipment or any part thereof, or grant license or concession in connection therewith,

   without [U.S. Xpress Leasing, Inc.’s] prior written consent.”

 71.    Pursuant to the Lease Agreement, the owner of the leased vehicle during the lease term

   was U.S. Xpress, Leasing, Inc., and the Lease Purchase Driver has no rights of an owner of the

   vehicle, including claiming depreciation of the vehicle for tax purposes.

 72.    Pursuant to the Contractor Agreement, U.S. Xpress, Inc. may terminate the Contractor

   Agreement at any time and for any reason by providing three days written notice.

 73.    Pursuant to the Contractor Agreement, the leased vehicle “shall be for [U.S. Xpress Inc.’s]

   exclusive possession, control, and use for the duration of [the Contractor Agreement].”

 74.    Pursuant to the Contractor Agreement, U.S. Xpress, Inc. was permitted to place and

   maintain on the leased equipment “any lettering, advertisement, slogans, or designs as [U.S.




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   Xpress, Inc.] may choose” and the Lease Purchase Driver’s ability to place any signage on the

   vehicle was entirely in the discretion of U.S. Xpress, Inc.

 75.     Pursuant to the Contractor Agreement, U.S. Xpress, Inc. may take possession of any lading

   entrusted to the Lease Purchase Driver and may complete the delivery of the lading with the

   leased equipment without permission of the Lease Purchase Driver when, in U.S. Xpress Inc.’s

   sole judgment, any act or omission of the Lease Purchase Driver has subjected U.S. Xpress, Inc.

   to liability.

 76.     Pursuant to the Contractor Agreement, Lease to Own Drivers were required to use a

   DriverTech device at all times when operating the vehicle. The DriverTech Device permitted

   Defendant U.S. Xpress, Inc. to monitor the Lease Purchase Driver at all times, to communicate

   with the Lease Purchase Driver at all times, and to supervise the Lease Purchase Driver.

 77.     Defendants assigned Lease to Own Drivers a fleet manager, who acted as Lease to Own

   Drivers’ supervisor throughout their employment with Defendants.

 78.     Lease to Own Drivers are/were not permitted to use the commercial vehicles leased to them

   for any carrier other than Defendant U.S Xpress, Inc.

 79.     Lease to Own Drivers are/were not permitted to accept jobs that were assigned to them by

   any carrier other than Defendant U.S. Xpress, Inc.

 80.     Lease to Own Drivers were required by Defendants to attend a multi-day new- hire

   orientation, the majority of which was attended by both Lease to Own Drivers, who are classified

   as independent contractors, and company drivers who Defendants properly classify as

   employees.




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 81.    During orientation, Defendant U.S Xpress, Inc. informed Lease to Own Drivers of

   Defendants’ Rules and Policies and informed Lease to Own Drivers that they are required to

   follow such rules at all times during their relationship with Defendants.

 82.    During orientation, Defendant U.S Xpress, Inc. informed Lease to Own Drivers that the

   best “strategy” for success is to accept all loads assigned by Defendants.

 83.    Defendants controlled the amount of compensation Lease to Own Drivers could make by

   being the sole source of loads that Lease to Own Drivers could take and by unilaterally setting

   the compensation to be provided to Lease to Own Drivers for completing each load.

 84.    Defendants controlled and directed Lease to Own Drivers in the performance of their work.

 85.    Lease to Own Drivers had no meaningful opportunity to increase their revenue by recruiting

   new customers, as they are/were not permitted to recruit new customers as a consequence of

   being permitted to accept only loads assigned to them by Defendants.

 86.    Lease to Own Drivers can/could do little to increase their profitability other than attempt

   to work more hours and increase fuel efficiency.

 87.    Lease to Own Drivers are/were economically dependent upon Defendants.

 88.    Lease to Own Drivers are/were required to report their status and availability to

   Defendants in real time at all times when they were over-the-road.

 89.    Lease to Own Drivers are/were required to request in advance any requests for home

   time or time off of work.

 90.    At all times, Defendants directed, provided, and supervised the work performed by

   Lease to Own Drivers on their behalf.




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                                  COUNT I
           FAIR LABOR STANDARDS ACT VIOLATIONS – MINIMUM WAGE
                            (On Behalf of the Class)

 91.    The foregoing paragraphs are incorporated herein as if set forth in their entirety.

 92.    Defendants’ pay structure and wage deduction practices and policies regularly caused

   Named Plaintiff and Collective Plaintiffs’ (collectively “FLSA Plaintiffs”) wages to drop

   below the federal minimum wage of $7.25 per hour for all hours worked during a workweek.

 93.    For example, Named Plaintiff would complete long haul trips in which he should have

   been compensated around $810.00. Defendants then deducted from those earnings for the

   truck, insurance, and fuel which resulted in Plaintiff’s net earnings of less than $500.00 – far

   below the FLSA minimum wage requirement.

 94.    Similar events occurred to Named Plaintiff and FLSA Plaintiffs on a regular basis.

 95.    Additionally, Defendants’ pay structure and wage deduction practices failed to provide any

   payments free and clear, as payments made to FLSA Plaintiffs were conditioned on Defendants’

   ability to recapture such wages at a later date.

 96.    As a consequence of Defendants’ unlawful scheme, FLSA Plaintiffs regularly received less

   than the federal minimum wage of $7.25 per hour for all hours worked during a workweek.

                                 COUNT II
          RULE 23 CLASS ACTION VIOLATIONS – BREACH OF CONTRACT
                            (On Behalf of the Class)

 97.    Plaintiff asserts class breach of contract claims because Defendants entered into valid and

   enforceable contracts with him and with each member of the proposed Rule 23 classes, pursuant

   to which Defendants were to pay a specified rate based on the value of each truck load delivered

   by Plaintiff and the Putative Class Members. Plaintiff further asserts that he and the Putative




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   Class Members duly performed as agreed, but that Defendants breached the contract by failing

   to compensate them these percentage-based wages.

 98.        In the alternative to the breach of contract class claims, Plaintiff asserts a quantum

   meruit/unjust enrichment claim that he and each member of the proposed Rule 23 class provided

   valuable services to Defendants, that Defendants accepted those services, and that Defendants

   had reasonable notice that class members expected to be compensated for their services

   furnished to Defendants. The reasonable value of the services provided and not paid for by

   Defendants with respect to the Rule 23 class is the difference between the difference between

   the minimum wage they are owed under the FLSA and the percentage-based wage they are

   entitled to for each truck load they delivered for Defendants.

                                         PRAYER FOR RELIEF

            Whereas, Plaintiff, individually, and/or on behalf of himself and all other similarly situated

 members of the class, request this Court to grant the following relief against Defendants:

       A.    Designation of this cause as a collective action on behalf of the class and promptly issue

             notice pursuant to 29 U.S.C. § 216(b), apprising class members of the pendency of this

             action and permitting other members of the class to assert timely FLSA claims in

       B.    For an Order pursuant to Section 216(b) of the FLSA finding Defendants liable for unpaid

             back wages due to Plaintiff (and those who have joined in the suit) and for liquidated

             damages equal in amount to the unpaid compensation found due to Plaintiff;

       C.    For certification of and notice to the FLSA Collective Action Classes and Rule 23

             Classes, as further defined and determined by motions practice, and to properly inform

             them of their rights;




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    D.    An award of compensation for unpaid minimum wages to Plaintiff and other members of

          the class at the applicable minimum wage rate as required by the FLSA;

    E.    An award of all contractually agreed to wages;

    F.    An award of liquidated damages to Plaintiff and other members of the class;

    G.    An award of prejudgment and post-judgment interest at the applicable legal rate to

          Plaintiff and other members of the class;

    H.    An award of costs, expenses, and disbursements relating to this action together with

          reasonable attorneys’ fees and expert fees to Plaintiff and other members of the class;

    I.    A ruling that the three-year statutory period for willful violations under the FLSA shall

          apply in this action, and

    J.    Such other general and specific relief as this Court deems just and proper.

                                      JURY TRIAL DEMAND

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a TRIAL

 BY JURY on all issues so triable.




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 Dated: June 25, 2020.              Respectfully Submitted,

                                    s/Gordon E. Jackson
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